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                                                  Court-Appointed Temporary Receiver for Link Motion
                                                  Inc. Pursuant to The Honorable Judge Victor Marrero of
                                                  the United States District Court, Southern District of New
                                                  York
469 7th Avenue, 5th Floor
New York, NY 10036
Tel: (646) 766-1724
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November 13, 2020

VIA ECF
Honorable Debra C. Freeman
Magistrate Judge
United States Courthouse
500 Pearl Street
New York, New York 10007

             Re: Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)

Dear Judge Freeman:

       I hope this letter finds you healthy and well. I write pursuant to the Court’s memo
endorsement dated November 13, 2020 (ECF 187) to request the Court’s approval to allow the
Receiver, under the powers granted to it pursuant to the Court’s February 1, 2019 order
appointing the Receiver (ECF 26) (the “Receivership Order”), to call an extraordinary general
meeting (“EGM”) for Link Motion Inc. (“Link Motion” or the “Company”).

        As this Court has observed, former Link Motion Chairman Wenyong Shi (“Shi”) has
continuously failed to comply with this Court’s orders since the inception of this matter.
Furthermore, Shi and his cohorts have obstructed the Receiver at every turn, for example by
stripping Link Motion of its most valuable assets and removing from the Company tens of
millions of dollars in value. While the Receivership Order has had some effect outside of the
People’s Republic of China (“PRC”), it has had no effect inside the PRC. Indeed, within the
PRC, Shi continues to disregard the Court’s orders and maintains full control of all Company
assets. Apparently, the only meaningful way to wrest control of the Company from Shi is to
formally remove him from his role as Director of Link Motion. Pursuant to the advice of my
U.S. and Cayman Islands counsel, the best method to do this, and the most equitable for all
parties, including Shi, is to follow the Company’s own by-laws and proceed to a shareholder
vote. It is for this reason that I request the Court’s approval to call an EGM of the Company’s
shareholders. While this case began as a derivative case, but, due to the vagaries of Cayman
Island law as it relates to holders of American depository receipts (“ADRs”), was recently
amended to be a direct action by shareholder Wayne Baliga, the need to preserve the Company’s
assets remains critical, imperative, and has never changed.

       The purpose of the EGM would be to consider the following issues:




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                                                    Court-Appointed Temporary Receiver for Link Motion
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                                                    the United States District Court, Southern District of New
                                                    York


        1) Call a vote of all the shareholders equitably allowing them to consider formally
           removing Shi from the board of directors of the Company to prevent
           his continued obstructive and irreparable actions;

        2) Call a vote to allow the shareholders to consider the removal of the alleged Shi
           loyalists and co-conspirators from the board of directors of the Company;

        3) Call a vote to allow the shareholders to consider the replacement of any and
           all directors who are removed at the EGM with directors appointed by the
           shareholders of the Company;

        4) Call a vote to allow the shareholders to consider the formal appointment of
           shareholder Francis Guo as Chairman and Director of Link Motion; and

        5) Call a vote to allow the shareholders to consider the ratification that Francis
           Guo, as Chairman of the Company, be granted the rights and authorities of
           Chairman and Director to lead the efforts of recovery of all of the Company’s
           assets, businesses, subsidiaries, and positions for the full and complete
           restoration of Link Motion to full compliance for all parties involved,
           including all harmed shareholders, employees, business partners, and
           creditors.

        The EGM will allow shareholders, including Mr. Baliga and the above-mentioned board
members, to vote and equitably decide how best to safeguard Link Motion’s assets and to avoid
further encroachment and damage by the Company’s previous management. As referenced above
and pursuant to Link Motion’s by-laws, such a mechanism is also part of the normal and customary
practice of the Company. Therefore, as the above resolutions are specific and necessary to
safeguard the legitimate rights and interests of the Company and all its shareholders, the Receiver
asks this Court to allow Link Motion’s shareholders to hold an EGM.

        Thank you for your time and assistance with this matter. Please do not hesitate to contact
 me via email or telephone if your Honor wishes to discuss this matter in further detail.


                                                      Sincerely,



                                                       Robert W. Seiden, Esq.
                                                       Court-Appointed Temporary Receiver
                                                       for Link Motion Inc.




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